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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA
_______________________________________
                                            )
PHARMACEUTICAL CARE                         )
MANAGEMENT ASSOCIATION,                     )
                                            )
                                Plaintiff,  )
                                            )
v.                                          ) Civil Action No. CIV-19-977-J
                                            )
GLEN MULREADY,                              )
in his official capacity as                 )
Insurance Commissioner of Oklahoma, and the )
OKLAHOMA INSURANCE DEPARTMENT, )
                                            )
                                Defendants. )
______________________________________ )

          PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

      Plaintiff Pharmaceutical Care Management Association (“PCMA”) hereby moves

that this court preliminarily enjoin defendants Glen Mulready and the Oklahoma

Insurance Department from enforcing Oklahoma’s Patient’s Right to Pharmacy Choice

Act, 36 O.S. § 6958, et seq (the “Act”), and its implementing emergency regulations,

Okla. Admin. Code § 365:25-29-1, et seq (the “Regulations”), during the pendency of

this action. The reasons, explained in more detail in the accompanying Memorandum of

Law, are as follows:

   1. The Act and Regulations are preempted. They regulate PCMA’s members,

      pharmacy benefit managers, which administer health plans covered by the

      Employee Retirement Income Security Act, 29 U.S.C. § 1001, et seq, and

      Medicare Part D, 42 U.S.C. § 1395w-101, et seq. Those federal statutes broadly
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      preempt state laws that are connected with, or act with respect to, covered plans.

      The Act and Regulations are connected with and act with respect to covered plans.

      Thus, PCMA is likely to succeed on the merits.

   2. Enforcement would subject PCMA’s members to multiple regulators, force them

      to restructure their business models, and cause them unrecoverable financial and

      administrative costs. These harms are exacerbated by the COVID-19 crisis. Thus,

      enforcement would cause PCMA’s members irreparable harm.

   3. Whereas enforcement would irreparably harm PCMA’s members, the defendants

      have no interest in enforcing unconstitutional state laws. Thus, the balance of

      hardships favors an injunction.

   4. Requiring PCMA’s members to comply with the Act and Regulations would

      divert their resources away from responding to the COVID-19 crisis. Plus,

      enforcement would impair PBMs’ abilities to exert downward pressure on drug

      prices in Oklahoma and enhance the quality of pharmacy services. As a result,

      consumers, including workers, their families, and seniors, may experience higher

      prices and lower service quality. Thus, an injunction would be in the public

      interest.

      In support of this motion, the PCMA relies on the accompanying Declarations and

Memorandum of Law. Attached hereto is a Proposed Order.

      PCMA respectfully requests a hearing on this motion.



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      WHEREFORE, PCMA respectfully moves that the court enjoin enforcement of

the Act and Regulations during the pendency of this action.

                                  Respectfully submitted,


                                  PHARMACEUTICAL CARE
                                  MANAGEMENT ASSOCIATION, INC.

                                  By its attorneys,
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      Dated: May 13, 2020



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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2020, I electronically transmitted the attached

document to the Clerk of the Court using the Electronic Case Filing System for filing.

Based on the records currently on file in this case, the Clerk will transmit a Notice of

Electronic Filing to those registered participants of the ECF System.



                                   /s/ Stephen Stich
                                   Stephen Stich




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